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 7
 8                                   UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10
11   JOSE ESCOBEDO.                                    ) No.
                                                       )
12                     Plaintiff,                      ) COMPLAINT ASSERTING DENIAL OF
                                                       ) RIGHT OF ACCESS UNDER THE
13            vs.                                      ) AMERICANS WITH DISABILITIES ACT
                                                       )
14   BUFFET CONCEPTS, INC. dba OLE                     ) FOR INJUNCTIVE RELIEF,
     FRIJOLE RESTAURANT BUFFET;                        ) DECLARATORY RELIEF, DAMAGES,
15   HALLAIAN BROTHERS, LLC;                           ) ATTORNEYS’ FEES AND COSTS (ADA)
                                                       )
16                                                     )
                       Defendants.                     )
17                                                     )
                                                       )
18
19                                               I. SUMMARY
20            1.       This is a civil rights action by plaintiff JOSE ESCOBEDO (“Plaintiff”) for
21   discrimination at the building, structure, facility, complex, property, land, development, and/or
22   surrounding business complex known as:
23                     Ole Frijole Restaurant Buffet
                       5279 North Blackstone Avenue
24                     Fresno, California 93710
25                     (hereafter “the Facility”)

26            2.       Plaintiff seeks damages, injunctive and declaratory relief, attorney fees and
27   costs, against BUFFET CONCEPTS, INC. dba OLE FRIJOLE RESTAURANT BUFFET and
28   HALLAIAN BROTHERS, LLC (hereinafter collectively referred to as “Defendants”),



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 1   pursuant to Title III of the Americans with Disabilities Act of 1990 (42 U.S.C. §§ 12101 et
 2   seq.) (“ADA”) and related California statutes.
 3                                               II.         JURISDICTION
 4             3.      This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343 for ADA
 5   claims.
 6             4.      Supplemental jurisdiction for claims brought under parallel California law –
 7   arising from the same nucleus of operative facts – is predicated on 28 U.S.C. § 1367.
 8             5.      Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
 9                                                     III.     VENUE
10             6.      All actions complained of herein take place within the jurisdiction of the United
11   States District Court, Eastern District of California, and venue is invoked pursuant to 28 U.S.C.
12   § 1391(b), (c).
13                                                     IV.     PARTIES
14             7.      Defendants own, operate, and/or lease the Facility, and consist of a person (or
15   persons), firm, and/or corporation.
16             8.      Plaintiff suffers from rheumatoid arthritis which impairs his ability to move his
17   joints without pain, is substantially limited in his ability to walk requiring a cane for mobility,
18   and has limited dexterity due to arthritis and finger amputation. Consequently, Plaintiff is
19   “physically disabled,” as defined by all applicable California and United States laws, and a
20   member of the public whose rights are protected by these laws.
21                                                      V.       FACTS
22             9.      The Facility is open to the public, intended for non-residential use, and its
23   operation affects commerce. The Facility is therefore a public accommodation as defined by
24   applicable state and federal laws.
25             10.     Plaintiff lives less than ten miles from the Facility and visited the Facility on or
26   about April 15, 2024 to have lunch. During his visit to the Facility, Plaintiff personally
27   encountered barriers (both physical and intangible) that interfered with, if not outright denied,
28   Plaintiff’s ability to use and enjoy the goods, services, privileges and accommodations offered



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 1   at the Facility. These barriers include, but are not necessarily limited to, the following:
 2                     a)       The Facility entrance door was heavy and/or closed too quickly, which
 3                              made it difficult for Plaintiff to open and walk through.
 4                     b)       The men’s restroom door was too heavy, making it difficult for Plaintiff
 5                              to open.
 6                     c)       The toilet in the men’s restroom was positioned too far from the wall,
 7                              making it difficult and uncomfortable for Plaintiff to use the grab bars to
 8                              lower himself and stand up from the toilet.
 9                     d)       The toilet seat cover dispenser in the men’s restroom was positioned too
10                              high, making it hard for Plaintiff to reach.
11                     e)       The soap dispenser in the men’s restroom was positioned high on the
12                              wall behind the sink, which made it difficult for Plaintiff to reach.
13                     f)       Plaintiff could not find an accessible table; he had to sit at a table that
14                              lacked sufficient knee and toe clearances and hit his foot on the base,
15                              which was uncomfortable.
16                     g)       The hand sanitizer dispenser was positioned too high, making it difficult
17                              for Plaintiff to use.
18            11.      There may exist other barriers at the Facility which relate to Plaintiff’s
19   disabilities, and he will seek to amend this Complaint once such additional barriers are
20   identified as it is Plaintiff’s intention to have all barriers which exist at the Facility and relate to
21   his disabilities removed to afford him full and equal access.
22            12.      Plaintiff was, and continues to be, deterred from visiting the Facility because
23   Plaintiff knows that the Facility’s goods, services, facilities, privileges, advantages, and
24   accommodations were and are unavailable to Plaintiff due to Plaintiff’s physical disabilities.
25   Plaintiff enjoys the goods and services offered at the Facility, and will return to the Facility
26   once the barriers are removed.
27   //
28   //



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 1            13.      Defendants knew, or should have known, that these elements and areas of the
 2   Facility were inaccessible, violate state and federal law, and interfere with (or deny) access to
 3   the physically disabled. Moreover, Defendants have the financial resources to remove these
 4   barriers from the Facility (without much difficulty or expense), and make the Facility
 5   accessible to the physically disabled. To date, however, Defendants refuse to either remove
 6   those barriers or seek an unreasonable hardship exemption to excuse non-compliance.
 7            14.      At all relevant times, Defendants have possessed and enjoyed sufficient control
 8   and authority to modify the Facility to remove impediments to Plaintiff’s access and to comply
 9   with the 1991 ADA Accessibility Guidelines and/or the 2010 ADA Standards for Accessible
10   Design. Defendants have not removed such impediments and have not modified the Facility to
11   conform to accessibility standards. Defendants have intentionally maintained the Facility in its
12   current condition and have intentionally refrained from altering the Facility so that it complies
13   with the accessibility standards.
14            15.      Plaintiff further alleges that the (continued) presence of barriers at the Facility is
15   so obvious as to establish Defendants’ discriminatory intent. On information and belief,
16   Plaintiff avers that evidence of this discriminatory intent includes Defendants’ refusal to adhere
17   to relevant building standards; disregard for the building plans and permits issued for the
18   Facility; conscientious decision to maintain the architectural layout (as it currently exists) at the
19   Facility; decision not to remove barriers from the Facility; and allowance that Defendants’
20   property continues to exist in its non-compliant state. Plaintiff further alleges, on information
21   and belief, that the Facility is not in the midst of a remodel, and that the barriers present at the
22   Facility are not isolated or temporary interruptions in access due to maintenance or repairs.
23                                               VI.   FIRST CLAIM
24                                      Americans with Disabilities Act of 1990
25                                   Denial of “Full and Equal” Enjoyment and Use
26            16.      Plaintiff re-pleads and incorporates by reference the allegations contained in
27   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
28   //



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 1            17.      Title III of the ADA holds as a “general rule” that no individual shall be
 2   discriminated against on the basis of disability in the full and equal enjoyment (or use) of
 3   goods, services, facilities, privileges, and accommodations offered by any person who owns,
 4   operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 5            18.      Defendants discriminated against Plaintiff by denying Plaintiff “full and equal
 6   enjoyment” and use of the goods, services, facilities, privileges and accommodations of the
 7   Facility during each visit and each incident of deterrence.
 8                        Failure to Remove Architectural Barriers in an Existing Facility
 9            19.      The ADA specifically prohibits failing to remove architectural barriers, which
10   are structural in nature, in existing facilities where such removal is readily achievable. 42
11   U.S.C. § 12182(b)(2)(A)(iv).
12            20.      When an entity can demonstrate that removal of a barrier is not readily
13   achievable, a failure to make goods, services, facilities, or accommodations available through
14   alternative methods is also specifically prohibited if these methods are readily achievable. Id.
15   § 12182(b)(2)(A)(v).
16            21.      Here, Plaintiff alleges that Defendants can easily remove the architectural
17   barriers at the Facility without much difficulty or expense, that the cost of removing the
18   architectural barriers does not exceed the benefits under the particular circumstances, and that
19   Defendants violated the ADA by failing to remove those barriers, when it was readily
20   achievable to do so.
21            22.      In the alternative, if it was not “readily achievable” for Defendants to remove
22   the Facility’s barriers, then Defendants violated the ADA by failing to make the required
23   services available through alternative methods, which are readily achievable.
24                                Failure to Design and Construct an Accessible Facility
25            23.      Plaintiff alleges on information and belief that the Facility was designed and
26   constructed (or both) after January 26, 1993 – independently triggering access requirements
27   under Title III of the ADA.
28   //



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 1            24.      The ADA also prohibits designing and constructing facilities for first occupancy
 2   after January 26, 1993, that aren’t readily accessible to, and usable by, individuals with
 3   disabilities when it was structurally practicable to do so. 42 U.S.C. § 12183(a)(1).
 4            25.      Here, Defendants violated the ADA by designing and constructing (or both) the
 5   Facility in a manner that was not readily accessible to the physically disabled public –
 6   including Plaintiff – when it was structurally practical to do so.1
 7                                     Failure to Make an Altered Facility Accessible
 8            26.      Plaintiff alleges on information and belief that the Facility was modified after
 9   January 26, 1993, independently triggering access requirements under the ADA.
10            27.      The ADA also requires that facilities altered in a manner that affects (or could
11   affect) its usability must be made readily accessible to individuals with disabilities to the
12   maximum extent feasible. 42 U.S.C. § 12183(a)(2). Altering an area that contains a facility’s
13   primary function also requires making the paths of travel, bathrooms, telephones, and drinking
14   fountains serving that area accessible to the maximum extent feasible. Id.
15            28.      Here, Defendants altered the Facility in a manner that violated the ADA and
16   was not readily accessible to the physically disabled public – including Plaintiff – to the
17   maximum extent feasible.
18                                  Failure to Modify Existing Policies and Procedures
19            29.      The ADA also requires reasonable modifications in policies, practices, or
20   procedures, when necessary to afford such goods, services, facilities, or accommodations to
21   individuals with disabilities, unless the entity can demonstrate that making such modifications
22   would fundamentally alter their nature. 42 U.S.C. § 12182(b)(2)(A)(ii).
23            30.      Here, Defendants violated the ADA by failing to make reasonable modifications
24   in policies, practices, or procedures at the Facility, when these modifications were necessary to
25   afford (and would not fundamentally alter the nature of) these goods, services, facilities, or
26   accommodations.
27   //
28   1
      Nothing within this Complaint should be construed as an allegation that Plaintiff is bringing this action as a
     private attorney general under either state or federal statutes.


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 1                                         Failure to Maintain Accessible Features
 2              31.    Defendants additionally violated the ADA by failing to maintain in operable
 3   working condition those features of the Facility that are required to be readily accessible to and
 4   usable by persons with disabilities.
 5              32.    Such failure by Defendants to maintain the Facility in an accessible condition
 6   was not an isolated or temporary interruption in service or access due to maintenance or
 7   repairs.
 8              33.    Plaintiff seeks all relief available under the ADA (i.e., injunctive relief, attorney
 9   fees, costs, legal expense) for these aforementioned violations. 42 U.S.C. § 12205.
10              34.    Plaintiff seeks a finding from this Court (i.e., declaratory relief) that Defendants
11   violated the ADA in order to pursue damages under California’s Unruh Civil Rights Act.
12                                               VII.   SECOND CLAIM
13                                                      Unruh Act
14              35.    Plaintiff re-pleads and incorporates by reference the allegations contained in
15   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
16              36.    California Civil Code § 51 states, in part, that: All persons within the
17   jurisdiction of this state are entitled to the full and equal accommodations, advantages,
18   facilities, privileges, or services in all business establishments of every kind whatsoever.
19              37.    California Civil Code § 51.5 also states, in part that: No business establishment
20   of any kind whatsoever shall discriminate against any person in this state because of the
21   disability of the person.
22              38.    California Civil Code § 51(f) specifically incorporates (by reference) an
23   individual’s rights under the ADA into the Unruh Act.
24              39.    Defendants’ aforementioned acts and omissions denied the physically disabled
25   public – including Plaintiff – full and equal accommodations, advantages, facilities, privileges
26   and services in a business establishment (because of their physical disability).
27              40.    These acts and omissions (including the ones that violate the ADA) denied,
28   aided or incited a denial, or discriminated against Plaintiff by violating the Unruh Act.



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 1            41.      Plaintiff was damaged by Defendants’ wrongful conduct, and seeks statutory
 2   minimum damages of $4,000 for each offense.
 3            42.      Plaintiff also seeks to enjoin Defendants from violating the Unruh Act (and
 4   ADA), and recover reasonable attorneys’ fees and costs incurred under California Civil Code
 5   § 52(a).
 6                                               VIII. THIRD CLAIM
 7                            Denial of Full and Equal Access to Public Facilities
 8            43.      Plaintiff re-pleads and incorporates by reference the allegations contained in
 9   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
10            44.      Health and Safety Code § 19955(a) states, in part, that: California public
11   accommodations or facilities (built with private funds) shall adhere to the provisions of
12   Government Code § 4450.
13            45.      Health and Safety Code § 19959 states, in part, that: Every existing (non-
14   exempt) public accommodation constructed prior to July 1, 1970, which is altered or
15   structurally repaired, is required to comply with this chapter.
16            46.      Plaintiff alleges the Facility is a public accommodation constructed, altered, or
17   repaired in a manner that violates Part 5.5 of the Health and Safety Code or Government Code
18   § 4450 (or both), and that the Facility was not exempt under Health and Safety Code § 19956.
19            47.      Defendants’ non-compliance with these requirements at the Facility aggrieved
20   (or potentially aggrieved) Plaintiff and other persons with physical disabilities. Accordingly,
21   Plaintiff seeks injunctive relief and attorney fees pursuant to Health and Safety Code § 19953.
22                                         IX.    PRAYER FOR RELIEF
23            WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, for:
24            1.       Injunctive relief, preventive relief, or any other relief the Court deems proper.
25            2.       Statutory minimum damages under section 52(a) of the California Civil Code
26                     according to proof.
27            3.       Declaratory relief finding that Defendants violated the ADA for the purposes of
28                     Unruh Act damages.



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 1              4.       Attorneys’ fees, litigation expenses, and costs of suit.2
 2              5.       Interest at the legal rate from the date of the filing of this action.
 3              6.       For such other and further relief as the Court deems proper.
 4
 5   Dated: 09/24/2024                                       MOORE LAW FIRM, P.C.
 6
 7                                                          /s/ Tanya E. Moore
                                                            Tanya E. Moore
 8                                                          Attorney for Plaintiff
 9                                                          Jose Escobedo

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         This includes attorneys’ fees under California Code of Civil Procedure § 1021.5.



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 1
                                                  VERIFICATION
 2
 3
               I, JOSE ESCOBEDO, am the plaintiff in the above-entitled action. I have read the
 4
      foregoing Complaint and know the contents thereof. The same is true of my own knowledge,
 5
      except as to those matters which are therein alleged on information and belief, and as to those
 6
      matters, I believe them to be true.
 7
               I verify under penalty of perjury that the foregoing is true and correct.
 8
 9
10
      Dated:       09/24/2024                                 /s/ Jose Escobedo
11                                                    Jose Escobedo
12
13            I attest that the original signature of the person whose electronic signature is shown
      above is maintained by me, and that his concurrence in the filing of this document and
14    attribution of his signature was obtained.
15                                                           /s/ Tanya E. Moore
16                                                    Tanya E. Moore
                                                      Attorney for Plaintiff,
17                                                    JOSE ESCOBEDO
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